Case 8:20-cv-00265-CEH-TGW       Document 87     Filed 10/21/24   Page 1 of 5 PageID 1264




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


  THOMAS J. NESTOR,
  Plaintiff,
                                                 CIVIL ACTION NO. 8:20-cv-00265


  vs.


  VPC3 II, LLP,
  a Florida Limited Liability
  and N.E. APARTMENTS
  ASSOCIATES, INC.,
  a Florida Corporation,
  JUDGE JACK DAY
  In his official capacity for declaratory judgment only,
  Defendants.

                        EMERGENCY MOTION
      FOR EXTENSION OF TIME TO RESPOND TO DEFENDANT’S
   VPC3, II LLP AND N.E. APARTMENTS ASSOCIATES, INC’S MOTION
     FOR ENTRY OF ORDER ADOPTING MAGISTRATES ORDERS
                   AWARDING ATTORNEY’S FEES

        Plaintiff, THOMAS J. NESTOR states as follows:

    1. On October 1, 2024, the Honorable Judge Honeywell entered an order

        granting an Emergency Motion for an extension of time to file a response to

        Defendants VPC3 II, LLP and N.E. Apartments Associates Inc’s Motion for

        Entry of Order Adopting Magistrates Orders Awarding Attorneys’ Fees (Doc.

        84). Plaintiff's response is due by October 24, 2024.
Case 8:20-cv-00265-CEH-TGW      Document 87     Filed 10/21/24    Page 2 of 5 PageID 1265



    2. Plaintiff filed the aforementioned motion in good faith based on numerous

       unforeseen hardships and damages that occurred on September 26, 2024, to

       Plaintiff’s residence, possessions and legal notes and case files due to the

       negative impacts of Hurricane Helene that ravaged St. Petersburg and the

       Tampa Bay area with massive storm surge and flooding.

    3. On October 02, 2024, while Plaintiff was still in shock assessing all the

       damages from Hurricane Helene, and in the midst of disaster recovery,

       Plaintiff was advised that there was another storm that was headed to the

       Gulf of Mexico that could develop into a tropical storm effecting Tampa Bay.

    4. On October 4, 2024, Plaintiff’s concerns increased greatly, again for a second

       time, when he learned the storm brewing could now become a hurricane

       impacting St. Petersburg, with a direct hit and/or landfall in the Tampa Bay

       area with another wave of storm surge that could negatively effect Plaintiff’s

       home. Plaintiff had to once again plan for mandatory evacuations, prepare for

       the storm and secure Plaintiff’s elder mother’s home for a second time which

       is in Pinellas County Evacuation/Flood Zone A.

    5. On October 5, 2024, Governor DeSantis declared a state of emergency for 35

       counties in Florida, including Pinellas County where Plaintiff resides due to

       Tropical Storm Milton that was now being forecasted to be a catastrophic

       hurricane headed directly for St. Pete and Tampa, Florida.

    6. On October 07, 2024, Pinellas County issued a Mandatory Evacuation Order

       for all residents in Zones A, B and C of which area included Plaintiff’s home.
Case 8:20-cv-00265-CEH-TGW       Document 87       Filed 10/21/24    Page 3 of 5 PageID 1266



    7. On October 09, 2024, Hurricane Milton made landfall just south of the

       Skyway Bridge in Sarasota, Florida with a devastating effect that caused

       additional wind and rain damage to Plaintiffs home and now vehicle, with

       extended power outages, boil alert notices for city residents’ water that was

       contaminated and Internet service down that has yet to be restored.

    8. As of today, October 21, 2024, the Snell Shores neighborhood of which Plaintiff

       resides is still a disaster area, and Plaintiff is drafting and filing this Emergency

       Motion working from a hotel lobby located in downtown St. Petersburg with

       allowed guest Wi-Fi access.

    9. Plaintiff was advised by his cable provider that they do not know when he will

       have Internet service again at his home due “widespread structural damage” to

       their infrastructure caused by both hurricanes.

    10. Plaintiff has continued and now additional clean up and damages from back

       to back natural disasters that need to be immediately addressed, including but

       not limited to damages and replacement cost lists for the insurance adjustor,

       A/C unit fixed and replacement of contaminated parts/basin, house contents

       and yard debris removal and other professional inspectors/inspections that are

       still yet to take place regarding restoration/mold issues for both the home

       where Plaintiff resides and now Plaintiff’s vehicle that has water damage from

       the second storm.

    11. Said disaster recovery work is a 12-16 hour a day affair that started on

       September 27, 2024, and has yet to come close to completion.
Case 8:20-cv-00265-CEH-TGW       Document 87     Filed 10/21/24   Page 4 of 5 PageID 1267



    12. In addition to the two (2) natural disasters that have occurred within the last

       4-weeks causing Plaintiff significant hardships, stress and illness, on October

       10, 2014, Plaintiff’s father passed away in Norridge, IL, while Plaintiff was

       returning home from mandatory evacuations from Hurricane Milton.

    13. Plaintiff is the last bearer of the Nestor family name, former POA for his

       father and only authorized person, who needs to leave for Chicagoland as soon

       as able, either once the emergency needs of Hurricane Helene and Hurricane

       Milton are completed, or at earliest time able during the disaster recovery,

       which is yet to be determined, so as Plaintiff can take care of Plaintiff’s

       father’s funeral arrangements, home needs and final business affairs.

    14. This additional and unforeseen family emergency for Plaintiff and needs for

       Plaintiff’s deceased father will most likely commence next week or the first

       week of November and take at least three to four weeks’ time.

    15. Given the above, Plaintiff will not be able be able to respond to the Honorable

       Judge Honeywell’s Order by October 24, 2024.

    16. Plaintiff respectfully requests this Emergency Motion be granted to allow for

       extension of time of 45-days to December 16, 2024, for Plaintiff to file a

       response to Defendants VPC3 II, LLP and N.E. Apartments Associates Inc’s

       Motion for Entry of Order Adopting Magistrates Orders Awarding Attorneys’

       Fees (or) for an extended date and time that the court deems just and fair given

       the three (3) traumatic events that have occurred to Plaintiff, that also takes

       into consideration that the Defendants and Defendants counsel may also be
Case 8:20-cv-00265-CEH-TGW      Document 87      Filed 10/21/24    Page 5 of 5 PageID 1268



       going through similar losses of property and post storm stresses from

       Hurricane Helene and Hurricane Milton.

    17. Plaintiff files this Motion in good faith and not for purpose of delay nor any

       improper purpose.

    18. Defendants will not be prejudiced by this Emergency Motion being granted.

       WHEREFORE, Plaintiff THOMAS J. NESTOR prays and respectfully moves

 this Court for the above-stated relief and any other relief this court deems necessary

 and proper.

                                         Respectfully submitted,

                                         /s/ Thomas J. Nestor
                                         Thomas J. Nestor
                                         500 45th Avenue NE
                                         St. Petersburg, FL 33703
                                         Phone: (727) 686-2163
                                         Email: PlaintiffThomasJN@gmail.com
                                         Plaintiff, pro se

                            CERTIFICATE OF SERVICE
         I, Plaintiff, Thomas J. Nestor hereby certify that a true and correct copy of
  the foregoing was served to counsel of record for Defendants by Email or US Mail
  to the offices of Stearns Weaver Miller on October 21, 2024.
